           Case 2:21-cv-00452-KG-CG Document 3 Filed 05/06/21 Page 1 of 8


                                                            f,,ILEI)
                                                    UNITED STATES DISTRICT OOURT
                                                       tAS CRUCES, NEW MEXICO

                                                             MAY   06   2021   e
                                                      MITCHELL R. ELFERS
                                                         CLERK OF COURT




                  IN THE UNITED STATES COURT
                                             OF THE



                W;iil,fiffiw    PLAINTIFF

                                  cAsE yo, 2: I 7CR0Z4?0      -   00/KE



    V,




                      'rfl                       lUan. --




* Eii5{. ost
         Case 2:21-cv-00452-KG-CG Document 3 Filed 05/06/21 Page 2 of 8




                    MOTION FOR HARDSHIP CRED

                        FOR.   HARD.TIME SERVED



     Now comes defendant                                        'r)   .'
                                                          ,
     Respectfully moving said court in the                 'cc district of

    With a motion for hard time served requesting             e court grant
    two days of credit for one day serued.




# qnss-ost
             Case 2:21-cv-00452-KG-CG Document 3 Filed 05/06/21 Page 3 of 8




                               INTRODUCTION



      The defendant being on "lock-down status"

      an   estimated   565     days in FCI Aliceville. Located in
      Aliceville, Alabama. ls considered under the constitutional
      rights for prisoners a hard time detention facility, invoking
      several protections under the fifth, eight and fourteenth
      amendments of the United States Constitution.
          ,,
      There are several factors to consider for the motion that are
      present at FCI Aticevitle that can further protections under the
      fifth, eight and fourteenth amendments and warrant the two
      days credit for one day served by federal inmates at such
      facility




# qil5{- cst
          Case 2:21-cv-00452-KG-CG Document 3 Filed 05/06/21 Page 4 of 8




                                    Factors



         1"- FCI Aliceville is currently operating a   mmunal
              segregation prison limiting liberty inte   afforded to
              the inmates in general population.
         2-   The access to recreational services is I ited to only
              three times per week and at times les than one hour
              each time. At tirnes several days can         ss   without any
            recreation at all making the facility in lera ble.
         3- Dietary needs of inmates are below ral prison
            standards and "rneals" can be "gruel. lnrnates are
            having to use discolored and brown         ter from sinks
            located in the cells to drink due to lo lockdown hours
            which is tolerable for one or two day but cruel and
             unusual under the eight amendment eyond that.
         4- The time an inmate in general popul on spends in her
             cell ean at times be in excess of 22 h rs in a single day
             period, which can amount to solitary nfinement and
             serious and significant deprivation     liberty.
         5- The lack of movement where an inm te who is not in
             protection segregation, isolated segr gation,
             administrative segregation or othe ise disciplinary



#   qi t5g- 0s l
           Case 2:21-cv-00452-KG-CG Document 3 Filed 05/06/21 Page 5 of 8




                                                   tioned
            segregation is subiected to the aforem
                                                            to
            treatment creating a disproportionate unishment
            offense.
                                                           d which
      6-    Personal hygiene is significantly degrad
                                                          h is transient in
            depends on the inmate population whi
            nature to maintain cleanliness of the f
                                                           ility and
                                                          ble, can
             common illness, which are easily avoid
             become a problem that the already li
                                                          ted medical
                                                            rety of the
          staff is unable to suppress before the
                                                             inmates
          inmates is affected. During normal op rations
          have the opportunity to utilize hair ca
                                                     to cut and
                                                       n we have
           maintain our hair but due to the lockd
           been unable to even cut our hair'
                                                    ing of the
       7- Medical care is scarce since the begin
           lockdown due to Covid-l9 in March        2020. lt can take'
                                                      ental, medical
           months to see medical staff, including
            and mental health doctors' We have
                                                     of had an
                                                          manY
            optometrist since this lockdown bega and
                                                           aPPlYing to
            inmates aie in need of glasses to see' After
                                              pan mic and
            see any medical staff during this
             continuously awaiting for a response'
                                                     f any, confined
                                                     hour daY easilY
             to your cell uP lo 22 hours out of a 2
             depletes your mental health' This sit
                                                      tion has created
                                                  dea ng        with
                a serious issue for those inmates
                depression and anxietY'


tr4ii5g-05i
          Case 2:21-cv-00452-KG-CG Document 3 Filed 05/06/21 Page 6 of 8




                               Conclusion



   Federal court will provide relief for deprivation     f prisoner's
   constitutional rights to be free of cruel and unu       al punishment
   during their lockdown due to Covid-lg' When t          e conditions
   such as the ones at FCI Aliceville become such t       at a prisoner is
   deprived of personal hygiene or their diet is ina         uate, the
   eight and fourteenth amendments are violated'          ln addition to
   punishment that is imposed for an improper pu                or
   disproportionate to the offense can violate pris       ner's fifth
   amendment rights.

    The date lhis lockdown began was March 30,             O and'is   still
    ongoing.




* qu;g- osl
             Case 2:21-cv-00452-KG-CG Document 3 Filed 05/06/21 Page 7 of 8


q




                                     Praver




      On   this 30      day of                2021, The defendant


      prays that the Honorable Judge of said court in the
        lau  W "'t
                     ilistrict of fre.rr-Ulyre-grant the hardShip credit
      tbr naid time served and-grant the defendant turo days credit
      for one served for, the time the inmate (she) has been locked
      down in FCI Aliceville due to Covid-lg.



       Defendant affirms the above is true and correct to the best of
       her (my) knowledge.




       Respectfu I ly subm itted ;




kqli58.051
Case 2:21-cv-00452-KG-CG Document 3 Filed 05/06/21 Page 8 of 8




                                         -k*$S\r:         'r:lN      C:>
                                              S
                                              -\ rRN
                                                   qrt N
                                              SSR*$u
                                                t: S\S--
                                              -NN.
                                               S\           r\ \      $
                                                                            ,




                                              N=6S *
                                              N A$?S
                                                L$
                                                  o ['f
                                                q-1-,             ",\  ai
  ,Qr
   l\-.
                 ,R( a)
                  $, f
                                                *E
                                                r=)
                                                -
                                                      N            ,5.-"
                                                                  Ht\
                                                                  Rg
    F'o  S-s
    Y; O.-tN                                                         \J


.s(
 R\ n=N5
       Nc                    I



  N. S,--h
  N
 ]),xS q                'o
                                        6[
                                               z':>



^sls$
                                               :-<
                                                {:l
                                        tt
                                        A)l
                                        q\      t\:


AAnt)oR
                                        \\
                                                f\)




    oa..(NF
    ENR
    G N.\
    -.L.          9 \
